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                                   8                                 UNITED STATES DISTRICT COURT
                                   9                                NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
                                  11

                                  12    FEDERAL TRADE COMMISSION,                           Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                           CASE MANAGEMENT ORDER
                                  14            v.

                                  15    QUALCOMM INCORPORATED,
                                  16                   Defendant.

                                  17
                                       Plaintiff’s Attorneys: Jennifer Milici, Joseph Baker
                                  18   Defendant’s Attorneys: Gary Andrew Bornstein, Nicole Peles, Yonatan Even, Geoffrey Holtz,
                                  19   Richard Taffet

                                  20         An initial case management conference was held on April 19, 2017. A further case
                                       management conference is set for July 19, 2017, at 2:00 p.m. The parties shall file their joint case
                                  21   management statement by July 12, 2017.
                                  22           The parties shall serve on named parties no more than 20 interrogatories. The discovery
                                       limitations in the Federal Rules of Civil Procedure otherwise govern this case.
                                  23

                                  24          Judge Nathanael Cousins shall be the discovery judge for both this case and the consumer
                                       Multi-District Litigation.
                                  25
                                               Qualcomm shall respond by April 21, 2017 to the FTC’s April 6, 217 draft Protective
                                  26   Order. The parties shall file a stipulated protective order for Judge Cousins’s signature, or a
                                  27   protective order dispute, by April 27, 2017.
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                                       Case No. 17-CV-00220-LHK
                                       CASE MANAGEMENT ORDER
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                                              The Court set the following case schedule:
                                   3
                                        Scheduled Event                                        Date
                                   4
                                        Deadline to File Protective Order                      April 27, 2017
                                   5    Plaintiff’s Opposition to Defendant’s Motion to        May 12, 2017
                                   6    Dismiss
                                        Defendant’s Reply in Support of Motion to Dismiss      June 2, 2017
                                   7
                                        Motion to Dismiss Hearing                              June 15, 2017, at 1:30 p.m.
                                   8
                                        Further CMC                                            July 19, 2017, at 2:00 p.m.
                                   9    Close of Fact Discovery                                March 30, 2018
                                  10    Plaintiff’s Opening Expert Reports                     April 20, 2018
                                  11    Defendant’s Expert Reports                             May 25, 2018

                                  12    Plaintiff’s Rebuttal Expert Reports                    June 22, 2018
Northern District of California
 United States District Court




                                        Close of Expert Discovery                              July 20, 2018
                                  13
                                        Last Day to File Dispositive Motions and Daubert       August 10, 2018
                                  14    Motions
                                        (one per side in the entire case)
                                  15
                                        Summary Judgment and Daubert Oppositions               September 10, 2018
                                  16
                                        Summary Judgement and Daubert Replies                  September 28, 2018
                                  17    Hearing on Dispositive Motions                         October 18, 2018, at 1:30 p.m.
                                  18    Final Pretrial Conference                              December 13, 2018, at 1:30 p.m.
                                  19    Bench Trial                                            January 4, 2019, at 9:00 a.m.

                                  20    Length of Trial                                        8 days

                                  21
                                       IT IS SO ORDERED.
                                  22

                                  23
                                       Dated: April 19, 2017
                                  24
                                                                                      ______________________________________
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                                                                                      LUCY H. KOH
                                  26                                                  United States District Judge

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                                       Case No. 17-CV-00220-LHK
                                       CASE MANAGEMENT ORDER
